           Case 1:15-cr-00286-DAD-BAM Document 62 Filed 11/05/15 Page 1 of 2


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 6

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   United States of America
 8

 9                                 IN THE UNITED STATES DISTRICT COURT

10                                   EASTERN DISTRICT OF CALIFORNIA

11

12   UNITED STATES OF AMERICA,                           CASE NO. 1:15–CR-00286 AWI-BAM

13                                  Plaintiff,           STIPULATION AND ORDER

14                           v.

15   HAITHAM EID HABASH,
      aka Eddie Habash,
16
                                    Defendant.
17

18

19                                               STIPULATION

20          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

21       through his counsel of record, hereby stipulate as follows:

22                  1.      By previous order, this matter was set for a bail appeal before this Court on

23       November 23, 2015, at 10:00 a.m.

24                  2.      By this stipulation, the parties now move to advance the bail appeal to November

25       16, 2015, at 10:00 a.m.

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          Case 1:15-cr-00286-DAD-BAM Document 62 Filed 11/05/15 Page 2 of 2


 1                IT IS SO STIPULATED.

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 3 Dated: November 4, 2015                     BENJAMIN B. WAGNER
                                               United States Attorney
 4
                                               /s/ KAREN A. ESCOBAR
 5                                             KAREN A. ESCOBAR
                                               Assistant United States Attorney
 6
     Dated: November 4, 2015
 7                                             /s/ SHAUN KHOJAYAN
                                               SHAUN KHOJAYAN
 8                                             Counsel for Defendant

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                                           ORDER
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     IT IS SO ORDERED.
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     Dated: November 5, 2015
14                                       SENIOR DISTRICT JUDGE
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